Case 23-12825-MBK             Doc 613-1 Filed 05/26/23 Entered 05/26/23 20:15:47                            Desc
                            Declaration of James G. Onder Page 1 of 4



 UNITED STATES
 UNITED        BANKRUPTCY COURT
        STATES BANKRUPTCY COURT
 DISTRICT OF
 DISTRICT OF NEW
             NEW JERSEY
                 JERSEY

 Caption in
 Caption in Compliance
            Compliance with
                       with D.N.J.
                            D.N.J. LBR
                                   LBR 9004-1(b)
                                       9004-2

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                                          vice)
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                                                             Case No.
                                                             Case No. 23-12825
                                                                      23-12825 (MBK)
                                                                               (MBK)
 In re:
 In re:
                                                             Chapter 11
                                                             Chapter 11
                              1
 LTL Management, LLC,
 LTL Management, LLC,1
                                                             Judge Michael B.
                                                             Judge Michael B. Kaplan
                                                                              Kaplan
                                     Debtor.
                                     Debtor.

11 The
   The last
        last four digits of
             four digits of the
                            the Debtor's
                                Debtor’s taxpayer
                                         taxpayer identification
                                                  identification number are 6622.
                                                                 number are 6622. The Debtor’s address
                                                                                  The Debtor's address is
                                                                                                       is 501 George
                                                                                                          501 George
 Street, New Brunswick,
 Street, New   Brunswick, New
                            New Jersey  08933.
                                 Jersey 08933.
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